 

Case 2:02-cr-204ISHH Dzim[ sit 69 I`%EalOQ(Oi/CT Pa;il of 2 Page|D 57

Western District of Tennessee FU-ED BY..-.%.......__D.G.

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Case # 02-2049-§3;¥’{§%. hi 'r'ro,:o

CL.EF!K. U.S. D!ST. CT.
W, D. OF TN, MEMPH!S

TO: U.S. Marshal for the Western District of Tennessee and/or
Warden, Dalby Correctional Institution, Post, Texas

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@\F
YoU ARE HEREBY @@: _to av'e the person of carlos

Raul Cortez, # 11855-051, by you restrained of his liberty, as it
is said, by whatsoever names detained, together with the day and
cause of his being taken and detained before HON. Samuel H. Mays,
Jr., U.S. District Court, Courtroom #2, llth Floor, Federal
Building, in the City of Memphis, Tennessee, for re-sentencing on
Mondayl June 20, 2005 at 1:30 p.g;, then and there to do, submit
to, and receive whatsoever the said Judge Shall then and there
determine in that behalf; and have you then and there this writ.
WITNESS the Honorable Samuel H. Mays, Jr., United States
District Judge at Memphis, Tennessee this §H z day of May, 2005.

ROBERT R. DI TROLIO
Clerk of Court

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with ama 55 and/or sz(b) FHC;P on 413 'Q’“O_<,/ " § §

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:02-CR-20406 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

Linda N. Harris

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Honorable Samuel Mays
US DISTRICT COURT

